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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, et al.,
                            Plaintiffs,
 v.                                              Civil Action No. 3:22-cv-00178
                                                 SDD-SDJ
 NANCY LANDRY, in her official capacity
 as Secretary of State of Louisiana,
                            Defendant.

                    PLAINTIFFS’ UNOPPOSED MOTION TO
                     CORRECT THE RECORD ON APPEAL

       Plaintiffs move to correct the Record on Appeal (“ROA”) that this Court

transmitted to the Fifth Circuit. The Federal Rules of Appellate Procedure direct

parties to submit requests to correct the ROA to the district court, so that this Court

can certify and forward additional documents to the court of appeals as needed to

conform the ROA to the record before this Court. Fed. R. App. 10(e). Plaintiffs have

consulted with all parties about this motion, and all Defendants and Intervenors

consent to Plaintiffs’ motion to correct the record.

       Plaintiffs respectfully request that this Court certify and forward additional

exhibits to the Fifth Circuit that were admitted at trial but are currently missing

from the ROA. The admitted exhibits missing from the ROA are Plaintiffs’ Exhibits

186, 188, 191, 192, 193, 194, 195, 196, 199, 200, 203, 205, 206, 207, and 208. See Ex.

A (compiling a courtesy copy of these exhibits in one PDF for the Court’s convenience).

       These fifteen exhibits appear to have been inadvertently omitted from the set

of exhibits uploaded at ECF No. 198, and in turn, from the district court’s

transmission of the ROA to the Fifth Circuit, despite having been admitted at trial
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without objection. The trial transcript reflects that each of these exhibits was

admitted without objection. See Ex. B (ROA.9625-9628). Because each of these

exhibits in their original format contained non-public personal identifying

information of non-parties, Plaintiffs uploaded redacted copies of each exhibit to the

JERS system on the evening of November 27, 2023 to ensure that the trial record did

not publicize this personal identifying information. See Ex. C (ROA.9772). Before the

close of Plaintiffs’ case in chief, Plaintiffs confirmed with the clerk that the Court had

received the redacted copies of these exhibits and that the Court’s exhibit log

confirmed they had been admitted into evidence. See Ex. D (preliminary exhibits log

received from clerk). This Court’s order and findings of fact include citations to the

mistakenly omitted exhibits, further confirming that they were relied on by this

Court and should be part of the ROA before the Fifth Circuit. See Ex. E (ROA.9134

n.67 and ROA.9214 n.8, each citing to “Pla-207” and “Pla-208”).

      Plaintiffs therefore move to correct the ROA to include these exhibits that were

admitted into evidence at trial before this Court and inadvertently omitted when the

record was transmitted.

                                    CONCLUSION

      This Court should certify and forward the redacted copies of Plaintiffs’ Exhibits

186, 188, 191, 192, 193, 194, 195, 196, 199, 200, 203, 205, 206, 207, and 208 to the

Fifth Circuit to conform the ROA to the record this Court considered at trial.




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Date: August 22, 2024                 Respectfully submitted,


                                      /s/ Megan C. Keenan
Stuart Naifeh*                        Megan C. Keenan*
Victoria Wenger*                      Sarah Brannon*
NAACP Legal Defense & Educational     American Civil Liberties Union
Fund                                  Foundation
40 Rector Street, 5th Floor           915 15th St. NW
New York, NY 10006                    Washington, DC 20005
snaifeh@naacpldf.org                  sbrannon@aclu.org
vwenger@naacpldf.org                  mkeenan@aclu.org

I. Sara Rohani*                       Sophia Lin Lakin*
NAACP Legal Defense & Educational     Dayton Campbell-Harris*†
Fund                                  American Civil Liberties Union
700 14th Street, Suite 600            Foundation
Washington, DC 20005                  125 Broad Street, 18th Floor
srohani@naacpldf.org                  New York, NY 10004
                                      slakin@aclu.org
John Adcock (La. Bar No. 30372)       dcampbell-harris@aclu.org
Adcock Law LLC
Louisiana Bar No. 30372               T. Alora Thomas-Lundborg (admitted pro
3110 Canal Street                     hac vice)
New Orleans, LA 701119                Daniel J. Hessel (admitted pro hac vice)
jnadcock@gmail.com                    Election Law Clinic
                                      Harvard Law School
Michael de Leeuw*                     6 Everett Street, Ste. 4105
Amanda Giglio*                        Cambridge, MA 02138
Cozen O’Connor                        tthomaslundborg@law.harvard.edu
3 WTC, 175 Greenwich St.,             dhessel@law.harvard.edu
55th Floor
New York, NY 10007                    Nora Ahmed
MdeLeeuw@cozen.com                    NY Bar No. 5092374
AGiglio@cozen.com                     Pronouns: she, her, hers
                                      ACLU Foundation of Louisiana
Robert S. Clark*                      1340 Poydras St, Ste. 2160
Cozen O’Connor                        New Orleans, LA 70112
One Liberty Place                     Tel: (504) 522-0628
1650 Market Street, Suite 2800        nahmed@laaclu.org
Philadelphia, PA 19103
robertclark@cozen.com                 Ron Wilson (La. Bar No. 13575)




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Josephine Bahn (admitted pro hac vice)   701 Poydras Street, Suite 4100
Cozen O’Connor                           New Orleans, LA 70139
1200 19th Street NW                      cabral2@aol.com
Washington, D.C. 20036
JBahn@cozen.com                          * Admitted pro hac vice.
                                          † Practice is limited to federal court.

                            Attorneys for Plaintiffs




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